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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 EVA AGERBRINK,

                                       Plaintiff,

                        -v-
                                                                14-CV-7841 (JPO)
 MODEL SERVICE LLC et al.,
                                                             OPINION AND ORDER
                                       Defendants.


J. PAUL OETKEN, District Judge:

       Plaintiff Eva Agerbrink is a fit model. She signed a representation contract with

Defendant Model Service LLC (“MSA”), but left on bad terms. Agerbrink claims that MSA

misclassified her as an independent contractor when she was really an employee. She also sues

for unjust enrichment because MSA withheld some of her earnings after she left. MSA

counterclaims for breach of contract and tortious interference with a business relationship.

       Before the Court are the parties’ cross-motions for summary judgment. Both Agerbrink

and MSA move for summary judgment on the employee-versus-independent-contractor issue.

Agerbrink also moves for summary judgment as to MSA’s counterclaims. Finally, Agerbrink

moves for summary judgment that she is entitled to $13,768.15 withheld by MSA.

       For the reasons that follow, the Court grants summary judgment for MSA on the

misclassification issue, concluding that Agerbrink was not an employee of MSA. The Court also

grants summary judgment for Agerbrink on MSA’s tortious interference counterclaim, but denies

summary judgment as to MSA’s breach of contract counterclaim. Finally, the Court grants

summary judgment on the withheld earnings, concluding that Agerbrink is entitled to at least

$13,768.15.

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I.     Background

       The following facts are taken from the parties’ consolidated Rule 56.1 Statements and are

not disputed unless otherwise noted. (See Dkt. No. 265 (“CSUF”).)

       Plaintiff: Plaintiff Eva Agerbrink is a fit model. Fit models are used by fashion

designers and manufacturers to check the fit, drape, and look of clothes. (CSUF ¶ 3.)

       Defendants: Defendant Model Service LLC, also known as MSA Models, is a model

management company. Defendant Susan Levine is MSA’s owner and president. (CSUF ¶ 325.)

Defendant William Ivers is MSA’s chief operating officer. (CSUF ¶ 327.) For simplicity,

“MSA” in this opinion refers to all three Defendants.

       The fit-model hiring process: Apparel companies hire models primarily on the basis of

the model’s physical measurements and proportions. MSA employed “model bookers” whose

job was to find work for MSA’s models. (CSUF ¶ 46.) When a client wanted to hire a fit model,

it would contact MSA. (CSUF ¶ 16.) MSA would respond with suggestions of specific models,

including body measurements and photos. (CSUF ¶ 16.) MSA would then send models to the

clients for a free “go-see.” (CSUF ¶ 16.) A go-see is a cross between a job interview and an

audition: the model tries on clothing and the client decides if it wants to hire the model. (CSUF

¶ 17.) If the go-see went well, the client would contact MSA and hire the model. (CSUF ¶ 18.)

       MSA’s communication structure: MSA acted as an intermediary between the models and

clients on matters of scheduling and pricing, though the parties dispute the extent to which the

models communicated directly with clients. (CSUF ¶¶ 47, 49, 52, 151.) MSA kept records of

appointments, hours worked, and model availability. (CSUF ¶¶ 48–51.) MSA bookers would

typically send Agerbrink her daily schedule about a day in advance. (CSUF ¶¶ 55, 59.)




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       Payment: Agerbrink worked on an hourly basis. (CSUF ¶ 262.) After a job, Agerbrink

would submit vouchers to MSA listing the hours worked, and MSA would then bill the client.

(CSUF ¶¶ 160–61.) Clients would send payment to MSA, MSA would deduct its fee, and MSA

would pay the remainder to Agerbrink. (CSUF ¶ 110.) The clients’ checks were made out to

MSA. (CSUF ¶ 174.)

       Agerbrink’s obligations under the contract: Agerbrink entered into a three-year

“exclusive” contract with MSA in March of 2013. (CSUF ¶¶ 371, 392.) The contract required

Agerbrink to use her “best efforts” to further her fit-modeling career. (Dkt. No. 223-1 ¶ 4.)

Agerbrink also agreed to seek MSA’s counsel regarding all fit-modeling matters and to refer any

fit-modeling inquiries to MSA. (Id.) Agerbrink also agreed to perform her services in a

professional and timely manner. (Id.) The contract provided that MSA would receive a

commission of twenty percent of Agerbrink’s hourly rate, including payments from clients to

which Agerbrink was introduced by MSA. (CSUF ¶ 369; Dkt. No. 223-1 ¶¶ 5, 14.) MSA agreed

to advise Agerbrink regarding public relations and the general practices of the modeling industry.

(Dkt. No. 223-1 ¶ 2.)

       Contractual references to employees or independent contractors: The contract loudly

exclaimed that “[Agerbrink] IS AN INDEPENDENT CONTRACTOR, AND NOTHING

HEREIN SHALL CREATE A PARTNERSHIP OR FIDUCIARY OR

EMPLOYER/EMPLOYEE RELATIONSHIP BETWEEN MSA AND [Agerbrink].” (Dkt. No.

223-1 ¶ 6.) It further provided that MSA would not supervise Agerbrink’s professional activities

and would not control the terms and conditions that govern Agerbrink’s relationships with

clients. (Dkt. No. 223-1 ¶ 5.) Agerbrink’s payment vouchers referred to the apparel companies

as “employers.” (CSUF ¶¶ 165–66.)

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        Agerbrink’s tenure with MSA: Agerbrink signed a three-year contract with MSA in

March of 2013. (CSUF ¶¶ 371, 392.) Agerbrink worked with MSA for fifteen months, until

June of 2014. (CSUF ¶ 395.) During that time, Agerbrink booked only two jobs: a standing

booking with a company called QVC for every Wednesday, Thursday, and Friday, and a

standing booking with a company called Carol Hochman for Tuesdays. (CSUF ¶¶ 39–41, 417.)

A standing booking is a repeating appointment which the model was to keep free for a specified

client. (CSUF ¶ 39.)

        The QVC job: QVC is located in Westchester, Pennsylvania. (CSUF ¶ 462.) QVC

offered Agerbrink a $105 hourly rate, which was lower than her usual rate. (CSUF ¶¶ 158, 465.)

MSA’s attempts to negotiate a higher rate were unsuccessful. (CSUF ¶ 467.) Due to the lower-

than-usual hourly rate, MSA agreed to lower its commission from twenty percent to fifteen

percent. (CSUF ¶ 471.) Agerbrink usually worked for QVC between twelve and twenty-two

hours per week. (CSUF ¶ 473.) The parties dispute the extent to which Agerbrink

communicated directly with QVC, but they agree that Agerbrink and QVC communicated at

times without MSA serving as an intermediary. (CSUF ¶ 475.) In June of 2014, Agerbrink

decided that the QVC rate was too low, and she stopped working for QVC. (CSUF ¶¶ 490, 496–

98.)

        Agerbrink’s expenses: Agerbrink paid $750 for professional photographs. (CSUF

¶¶ 549–51.) Agerbrink also paid $240 per year to be featured on MSA’s website. (CSUF ¶ 205.)

While working for QVC, Agerbrink paid for her own travel expenses and for a rental apartment

in Pennsylvania. (CSUF ¶¶ 559–60.)

        Agerbrink’s departure from MSA for Caché: Agerbrink last did work through MSA in

June of 2014, though her contract ran until March of 2016. (CSUF ¶¶ 109, 114.) In June of

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2014, Agerbrink took a permanent job with a company called Caché. (CSUF ¶¶ 244–45.)

MSA’s attorney wrote to Agerbrink claiming that Agerbrink was still under contract with MSA

and that MSA was entitled to twenty percent of her earnings from her job with Caché. (CSUF

¶ 114.) MSA threatened to withhold $17,946.41 in client payments held by MSA. (CSUF

¶ 116.) Agerbrink stopped working at Caché in February of 2015. (CSUF ¶ 507.)

       This lawsuit: A full retelling of this case’s history would take a while. The background

necessary for this opinion, however, is minimal. While this suit started off as a putative class

action, the only remaining claims are Agerbrink’s individual claims and MSA’s counterclaims.

The thrust of Agerbrink’s claim is that, as an employee, she was covered by the Fair Labor

Standards Act (“FLSA”) and the New York Labor Law (“NYLL”). The threshold issue—and

the key issue in this opinion—is whether Agerbrink was an employee of MSA.

II.    Legal Standard

       Summary judgment is appropriate where “there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A fact is

material if it “might affect the outcome of the suit under the governing law.” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). “On summary judgment, the party bearing the

burden of proof at trial must provide evidence on each element of its claim or defense.” Cohen

Lans LLP v. Naseman, No. 14 Civ. 4045, 2017 WL 477775, at *3 (S.D.N.Y. Feb. 3, 2017)

(citing Celotex Corp. v. Catrett, 477 U.S. 317, 322–23 (1986)). “If the party with the burden of

proof makes the requisite initial showing, the burden shifts to the opposing party to identify

specific facts demonstrating a genuine issue for trial, i.e., that reasonable jurors could differ

about the evidence.” Clopay Plastic Prods. Co. v. Excelsior Packaging Grp., Inc., No. 12 Civ.

5262, 2014 WL 4652548, at *3 (S.D.N.Y. Sept. 18, 2014). The court views all “evidence in the


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light most favorable to the non-moving party,” and summary judgment may be granted only if

“no reasonable trier of fact could find in favor of the nonmoving party.” Allen v. Coughlin, 64

F.3d 77, 79 (2d Cir. 1995) (second quoting Lunds, Inc. v. Chem. Bank, 870 F.2d 840, 844 (2d

Cir. 1989)) (internal quotation marks omitted).

III.    Discussion

        Both Agerbrink and MSA move for summary judgment on the employee-versus-

independent-contractor issue. Agerbrink also moves for summary judgment as to MSA’s

counterclaims. Finally, Agerbrink moves for summary judgment as to the money withheld by

MSA. Each is discussed in turn.

        A.     The Competing Motions for Summary Judgment on the Employee-Versus-
               Independent-Contractor Issue

        The principal issue in this case is whether Agerbrink was an employee of MSA. Both

parties move for summary judgment on this point. Since the FLSA standard is somewhat

different than the NYLL standard, each statute is discussed separately.

               1.     Was Agerbrink an Employee Under the FLSA?

        In assessing whether an individual is an employee under the FLSA, courts consider the

following factors:

               (1) the degree of control exercised by the employer over the
               workers, (2) the workers’ opportunity for profit or loss and their
               investment in the business, (3) the degree of skill and independent
               initiative required to perform the work, (4) the permanence or
               duration of the working relationship, and (5) the extent to which the
               work is an integral part of the employer’s business.

Saleem v. Corp. Transp. Grp., Ltd., 52 F. Supp. 3d 526, 535 (S.D.N.Y. 2014) (quoting Brock v.

Superior Care, Inc., 840 F.2d 1054, 1058–59 (2d Cir. 1988)), aff’d, 854 F.3d 131 (2d Cir. 2017).

However, the Second Circuit has cautioned that courts should not focus narrowly on these

factors, because doing so risks losing sight of the “ultimate concern,” which is “whether, as a
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matter of economic reality, the workers depend upon someone else’s business for the opportunity

to render service or are in business for themselves.” Brock, 840 F.2d at 1059. The Court

discusses each factor separately, though there is significant overlap among them.

                       i.      Degree of Control

       The first factor is “the degree of control exercised by the employer over the workers.”

Saleem, 854 F.3d at 139 n.19 (quoting Brock, 840 F.2d at 1058). For this factor, Saleem is

particularly instructive, since it is recent, binding precedent that deals with an analogous fact

pattern. There, a group of livery-cab drivers claimed that they were misclassified as independent

contractors. The Second Circuit affirmed a grant of summary judgment in favor of the

defendants, based in large part on the degree-of-control factor. Here, too, this factor weighs in

favor of MSA.

       First, Agerbrink could set her own work schedule and choose how much to work, if at all.

(CSUF ¶ 607.) 1 An important factor in Saleem was that the drivers “wielded considerable

independence and discretion when working under [defendant’s] umbrella,” including the ability

to choose when to drive. Id. at 143. The Saleem court contrasted this arrangement with cases in

which the employer prescribed minimum or maximum hourly requirements, which are indicative

of an employer-employee relationship. Id. at 146–47. As the district court in Saleem noted:

“Particularly relevant to the control factor is whether a worker is ‘free to set his own schedule

and take vacations when he wished,’ and it is undisputed that [the drivers] could do so.” Saleem,

52 F. Supp. 3d at 537 (citation omitted) (quoting Kirsch v. Fleet Street, Ltd., 148 F.3d 149, 171



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              Agerbrink contends that she had to keep her scheduled standing appointments,
and might have been penalized if she did not show up at the scheduled time. (CSUF ¶ 607.)
However, she also had the freedom to end her standing appointments, as she did with QVC. (See
CSUF ¶¶ 490, 496–98.)
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(2d Cir. 1998)); cf. Brock, 840 F.2d at 1060 (holding that nurses were employees of nursing

agency which limited working hours to forty per week).

       Second, Agerbrink had the final word on which clients to work for. For example, when

QVC offered Agerbrink a job paying a lower-than-usual hourly rate, she accepted the job

because it promised steady work. (CSUF ¶¶ 465–68.) When Agerbrink later decided that the

QVC job was not worth the high travel expenses, she stopped working for QVC. (See CSUF

¶¶ 490, 496–98.) These decisions were Agerbrink’s, not MSA’s. See Saleem, 854 F.3d at 148

(noting that the drivers could choose “when, where, and with what regularity” to drive).

       Third, as the QVC job illustrates, Agerbrink had the ultimate say about her hourly rate. If

she really wanted a certain job, she could charge a lower hourly rate. If she wanted, she could

hold out for her usual rate. Cf. Brock, 840 F.2d at 1060 (holding that nurses were employees of

nursing agency which “unilaterally dictated the nurses’ hourly wage”); Hart v. Rick’s Cabaret

Int’l, Inc., 967 F. Supp. 2d 901, 919‒20 (S.D.N.Y. 2013) (holding that strip-club dancers were

employees because the club set the cover charge and the price charged per dance).

       Fourth, the contract between Agerbrink and MSA expressly said that Agerbrink was an

independent contractor. (Dkt. No. 223-1 ¶ 6.) In Saleem, the court gave weight to the fact that

the contracts designated the plaintiffs as independent contractors. The court noted that “[t]hough

an employer’s self-serving label of workers as independent contractors is not controlling, such a

designation in the franchise agreement is pertinent to the parties’ beliefs about the nature of the

relationship.” Saleem, 854 F.3d at 141 (citations omitted) (first quoting Brock, 840 F.2d at 1059,

then quoting Estate of Suskovich v. Anthem Health Plans of Va., Inc., 553 F.3d 559, 564 (7th Cir.




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2009)) (internal quotation marks omitted). Here, the contract proclaimed that Agerbrink was an

independent contractor, which weighs in favor of MSA’s position.

       Finally, MSA did not train Agerbrink (CSUF ¶¶ 213–14), and Agerbrink did not have an

MSA email address (CSUF ¶ 352). While these factors would not be dispositive on their own,

they both tend to indicate independent contractor status. Cf. Brock, 840 F.2d at 1060 (holding

that nurses were employees of nursing agency which monitored their patient care notes and

visited job sites once or twice a month).

       Agerbrink argues that MSA exercised control by requiring her to perform her services in

a timely and professional manner. The Saleem plaintiffs similarly argued that the defendants

exerted influence over drivers by enforcing its rulebook, which mandated a dress code and

standards of conduct. However, the Saleem court concluded that while engaging in monitoring

and discipline “may reflect a degree of control over [p]laintiffs’ conduct . . . the ‘opportunity for

profit and loss was determined by the drivers to a greater degree than it was by [d]efendants.’”

Saleem, 854 F.3d at 149 (quoting Herman v. Express Sixty-Minutes Delivery Serv., Inc., 161 F.3d

299, 304 (5th Cir. 1998)) (some brackets removed); cf. Hart, 967 F. Supp. 2d at 916 (holding

that strip club’s exhaustive list of work rules, coupled with fines for non-compliance, indicated

that dancers were employees). The result is the same here.

       Agerbrink’s strongest argument on the degree-of-control factor is that MSA exerted

control over her through its informal practices and through the implicit (and, according to

Agerbrink, explicit) threat that if she did not abide by MSA’s wishes, she would be blacklisted

from the New York City fit-modeling industry. The plaintiff in Saleem similarly argued that

“[d]efendants exercised control over all significant aspects of its black car business” through,

among others mechanisms, its roll of organizational clients, its dispatch system, and the fact that

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it negotiated rates with clients. Saleem, 854 F.3d at 148–49 (internal quotation marks omitted).

But the court held that “[w]hile [d]efendants did exercise direct control over certain aspects of

the [business], they wielded virtually no influence over other essential components of the

business, including when, where, in what capacity, and with what frequency [p]laintiffs would

drive.” Id. at 149. The result is the same here: MSA’s informal practices weigh slightly in favor

of employee status, but not enough to negate the other indicia showing lack of control.

          In sum, this factor weighs strongly in favor of independent contractor status.

                        ii.     Opportunity for Profit or Loss

       The second factor is “the workers’ opportunity for profit or loss and their investment in

the business.” Saleem, 52 F. Supp. 3d at 535. The more entrepreneurial the work, the more it

points to independent contractor status. This factor, too, weighs in favor of MSA.

       First, as discussed above, Agerbrink had significant leeway in deciding whether to work,

when to work, for whom to work, and for how much to work. See Saleem, 854 F.3d at 143–44

(concluding that drivers were independent contractors in part because they “possessed

considerable independence in maximizing their income through a variety of means”). This

flexibility gave Agerbrink significant entrepreneurial opportunities to maximize her profit if she

wanted.

       Second, Agerbrink negotiated financial terms with both clients and MSA. It is

undisputed that Agerbrink had the power to accept job offers that paid lower than her hourly rate.

(CSUF ¶ 465.) It is likewise undisputed that Agerbrink got MSA to lower its commission on

Agerbrink’s QVC earnings because QVC paid less than Agerbrink’s normal rate. (CSUF ¶ 468).

Again, there is a capability for entrepreneurship that is uncharacteristic of a mere employee.




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       Third, there is the relative investment by Agerbrink and MSA. “In the economic reality

test, ‘large capital expenditures’—as opposed to ‘negligible items, or labor itself’—are highly

relevant to determining whether an individual is an employee or an independent contractor.”

Saleem, 854 F.3d at 144 (quoting Dole v. Snell, 875 F.2d 802, 810 (10th Cir. 1989)). Here,

Agerbrink paid for her own travel expenses and, while working for QVC, paid for a rental

apartment in Pennsylvania. (CSUF ¶¶ 559–60.) She also paid $750 for professional

photographs and $240 per year to be featured on MSA’s website. (CSUF ¶¶ 205, 549–51.)

While these investments are not equal to, say, acquiring a livery cab, they nevertheless weigh in

favor of independent contractor status. See Kirsch, 148 F.3d at 171 (holding that the fact that

“[plaintiff] was not reimbursed for his expenses” points toward independent contractor status).

       Accordingly, this factor weighs in favor of independent contractor status.

                       iii.   Degree of Skill Required

       The third factor is “the degree of skill and independent initiative required to perform the

work.” Saleem, 52 F. Supp. 3d at 535. The parties dispute the exact role played by fit models:

Agerbrink portrays her role as that of a human mannequin, while MSA insists that models must

be literate in the industry and provide substantive feedback to the designer about the clothes.

(CSUF ¶¶ 3–4.) However, MSA’s advertisements expressly said that no experience was

necessary to be a fit model. (CSUF ¶ 211.) As such, this factor weighs in favor of employee

status. See Hart, 967 F. Supp. 2d at 920 (concluding that the fact that the strip club did not

require dancers to have prior experience points to employee status).

                       iv.    Permanence or Duration

       The fourth factor is “the permanence or duration of the working relationship.” Saleem,

52 F. Supp. 3d at 535. Agerbrink signed a three-year contract, but she worked with MSA for

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fifteen months. (CSUF ¶ 395.) This factor leans toward employee status, but it is unclear

whether Agerbrink’s tenure is long or short relative to others in the industry. In any event, courts

have given this factor limited weight. See Hart, 967 F. Supp. 2d at 921 (collecting cases).

                       v.     Whether the Work is an Integral Part of Employer’s Business

       The fifth and final factor is “the extent to which the work is an integral part of the

employer’s business.” Saleem, 52 F. Supp. 3d at 535. This factor is a toss-up. Obviously,

model services are an integral part of a company called Model Services. However, MSA makes

a strong counterargument that its business provides services to models rather than providing

model services to apparel companies.

                       vi.    The Overall Economic Reality

        Notwithstanding the specific factors, the “ultimate concern,” is “whether, as a matter of

economic reality, the workers depend upon someone else’s business for the opportunity to render

service or are in business for themselves.” Brock, 840 F.2d at 1059. Here, the Court concludes

that no reasonable juror could find that Agerbrink was an employee. Even after resolving all

disputed facts in favor of Agerbrink, the Court concludes as a matter of economic reality that

Agerbrink was a self-employed fit model who hired MSA to manage her career. While not all

factors point this way, the degree-of-control and opportunity-for-profit-and-loss factors are the

most accurate indicators of Agerbrink’s economic reality.

       The QVC job illustrates this economic reality. When deciding whether to accept the

QVC job, Agerbrink tried—through MSA—to negotiate a higher offer from QVC. (CSUF

¶¶ 465–67.) At the same time, Agerbrink got MSA to lower its commission on her QVC

earnings to offset the lower rate paid by QVC. (CSUF ¶¶ 471, 478.) She ultimately decided to

accept the job and made significant investments for which MSA did not reimburse her, including

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renting an apartment in Pennsylvania. (CSUF ¶¶ 559–60.) And when Agerbrink later decided

that the QVC job was not worth the reduced pay, she left that job. (CSUF ¶¶ 490, 496–98.)

These are the actions of an entrepreneurial businessperson rather than a passive employee.

       Accordingly, MSA is entitled to summary judgment on Agerbrink’s FLSA claims.

               2.         Was Agerbrink an Employee Under the NYLL?

       The NYLL test is similar to the FLSA test, although it focuses more on degree of control

rather than economic reality. See Hart, 967 F. Supp. 2d at 922–24 (collecting cases). The New

York Court of Appeals has held that “the critical inquiry in determining whether an employment

relationship exists pertains to the degree of control exercised by the purported employer over the

results produced or the means used to achieve the results.” Bynog v. Cipriani Grp., 1 N.Y.3d

193, 198 (2003). The following factors apply:

               [W]hether the worker (1) worked at his own convenience, (2) was
               free to engage in other employment, (3) received fringe benefits, (4)
               was on the employer’s payroll and (5) was on a fixed schedule.

Id. (citations omitted)

       The result here is the same as under the FLSA, for largely the same reasons. As

discussed above, Agerbrink had significant leeway in setting her schedule, choosing her clients,

and negotiating her rate of pay. As to the remaining factors, Agerbrink does not contend that she

was on MSA’s payroll or that she received fringe benefits. And as to the “critical inquiry”—i.e.

degree of control—the Court has already concluded that MSA exerted little control over

Agerbrink. Indeed, Agerbrink concedes that the definition of “employee” under the FLSA and

the NYLL is “near-identical.” (Dkt. No. 248 at 40.)

       Accordingly, MSA is entitled to summary judgment on Agerbrink’s NYLL claims.




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       B.      Agerbrink’s Motion for Summary Judgment as to MSA’s Counterclaims

       In its answer, MSA asserts counterclaims for breach of contract and tortious interference

with a business relationship. Agerbrink now moves for summary judgment, seeking dismissal of

the two counterclaims.

               1.     MSA’s Breach of Contract Counterclaim

       MSA’s first counterclaim alleges that Agerbrink breached her contract with MSA by

working in-house for Caché—a fashion company—without telling MSA, and without giving

MSA its twenty-percent cut. MSA alleges that the contract between Agerbrink and MSA

required Agerbrink to notify MSA of all job offers and to pay MSA a twenty percent commission

for any work Agerbrink performed during the contract term. (See Dkt. No. 232 ¶¶ 355–78.)

       Agerbrink moves for summary judgment, arguing that there is no genuine dispute that she

should prevail on her affirmative defenses. Each affirmative defense is discussed in turn.

                      i.      Affirmative Defense 1—Setoff and Recoupment

       Agerbrink first argues that even if she does owe money to MSA, the amount due is less

than $13,768.15. And since MSA is currently withholding $13,768.15 of Agerbrink’s earnings,

Agerbrink argues that she does not owe MSA anything.

       But Agerbrink’s argument is undermined by the fact that Agerbrink moves for summary

judgment—which the Court grants below—on the issue of the $13,768.15. In other words, she

wants to be paid the $13,768.15, but, at the same time, asserts that she does not owe anything to

MSA because MSA already has her money. She cannot have it both ways, and summary

judgment is therefore unwarranted as to this affirmative defense. 2



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               In any event, MSA disputes the amount that Agerbrink allegedly owes MSA,
arguing that the amount owed exceeds the amount withheld.
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                      ii.     Affirmative Defense 2—Unconscionability

       Agerbrink next argues that her contract with MSA is invalid as unconscionable. She

argues that the obligations under the contract were lopsided because Agerbrink owed a host of

obligations to MSA (including hefty commissions), while MSA’s only real obligation was to

provide commercially reasonable advice about the modeling industry.

       Under New York law, a contract is unconscionable when it “is so grossly unreasonable or

unconscionable in the light of the mores and business practices of the time and place as to be

unenforcible [sic] according to its literal terms.” Gillman v. Chase Manhattan Bank, N.A., 73

N.Y.2d 1, 10 (1988). Generally, there must be a showing that the contract is both procedurally

and substantially unconscionable. See id. “The procedural element of unconscionability

concerns the contract formation process and the alleged lack of meaningful choice; the

substantive element looks to the content of the contract.” State v. Wolowitz, 468 N.Y.S.2d 131,

145 (App. Div. 2d Dept. 1983); see also Desiderio v. National Ass’n of Sec. Dealers, Inc., 191

F.3d 198, 207 (2d Cir. 1999) (“A contract or clause is unconscionable when there is an absence

of meaningful choice on the part of one of the parties together with contract terms which are

unreasonably favorable to the other party.” (quoting 8 Samuel Williston, A Treatise on the Law

of Contracts, § 18:9 (Richard A. Lord ed., 4th ed.1998) (internal quotation marks omitted)).

       Agerbrink does not argue that the formation of the contract was procedurally

unconscionable. Instead, she asserts that “New York law allows for a finding of

unconscionability, in exceptional cases, even where there was no procedural unconscionability.”

Eisen v. Venulum Ltd., 244 F. Supp. 3d 324, 342 (W.D.N.Y. 2017). Agerbrink argues that hers is

an exceptional case because the contract was structured so that MSA benefits from its own

breach of the contract. She argues that by neglecting to find work for its models, MSA leaves

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the models with no option but to work for other companies and give MSA a percentage cut for

doing nothing. However, there is very little in the record to support this claim, and the issue of

MSA’s efforts to find work for Agerbrink is disputed. Thus, summary judgment is inappropriate

on this affirmative defense.

                       iii.    Affirmative Defense 3—Repudiation

       Agerbrink next argues that, after Susan Levine found out about her job with Caché, she

threatened Agerbink that “[i]f you show up at on Monday morning at Caché you will never work

in this town again.” (CSUF ¶ 137.) Agerbrink argues that by making this statement, MSA

repudiated the contract between it and Agerbrink, and Agerbrink was no longer bound by the

contract.

       Under New York law, repudiation occurs either through “a statement by the obligor to

the obligee indicating that the obligor will commit a breach that would of itself give the obligee a

claim for damages for total breach” or “a voluntary affirmative act which renders the obligor

unable or apparently unable to perform without such a breach.” Norcon Power Partners, L.P. v.

Niagara Mohawk Power Corp., 92 N.Y.2d 458, 463 (1998) (quoting Restatement [Second] of

Contracts § 250) (internal quotation marks omitted). Repudiation occurs “when a breaching

party’s words or deeds are unequivocal.” Id.; see also Palazzetti Import/Export, Inc. v. Morson,

No. 98 Civ. 722, 2001 WL 1568317, at *9 (S.D.N.Y. Dec. 6, 2001) (“The renunciation . . . must

rise to the level of a clear and unqualified refusal to perform the entire contract.”).

       Agerbrink’s argument is unavailing. First, Levine denies making the threat. (CSUF

¶ 137.) And second, whether this one threat constitutes a clear refusal to perform on the entire

contract is a disputed issue, and is ultimately for the jury to decide.




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                      iv.     Affirmative Defense 4—Prior Material Breach

       Agerbrink next argues that MSA breached the contract before she did. Those alleged

breaches are (1) that Levine threatened Agerbrink that she would be blacklisted from the New

York fit-modeling industry, (2) that MSA personnel told Agerbrink that she was contractually

prohibited from working for other companies when in reality the contract did allow it, and (3)

that MSA breached the implied covenant of good faith and fair dealing by representing itself in

the contract as not being an employment agency, when in reality it was an unlicensed

employment agency under New York law.

       But these arguments rely on facts that are heavily disputed by the parties. Levine denies

making the threat. (CSUF ¶ 137.) MSA denies telling Agerbrink about being prohibited from

working for other companies. (See, e.g., CSUF ¶ 8.) And the unlicensed-employment-agency

argument has already been rejected by the Court in an earlier opinion. See Agerbrink v. Model

Serv. LLC, No. 14 Civ. 7841 JPO, 2015 WL 3750674, at *5 (S.D.N.Y. June 16, 2015); see also

Columbia Artists Mgmt., LLC v. Swenson & Burnakus, Inc., No. 05 Civ. 7314, 2008 WL

4387808, at *8 (S.D.N.Y. Sept. 24, 2008) (“Where there is no private right of action for [an

Article 11] claim, a party cannot assert that same violation as grounds for an affirmative

defense.”) Accordingly, summary judgment is not warranted as to this defense.

                      v.      Affirmative Defense 5—Non-Material Breach

       Agerbrink next argues that there was no material breach prior to the alleged threat by

Levine. And since Agerbrink maintains that the threat repudiated the contract, she argues that

there was never a material breach. But given that the Court has already denied summary

judgment on the issue of whether the threat constituted repudiation, summary judgment is

likewise denied on this affirmative defense.

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                       vi.     Affirmative Defense 6—Unlicensed Employment Agency

       Finally, Agerbrink argues that the contract is unenforceable because MSA is an illegal

employment agency under New York law. But, as noted above, the Court has already rejected

this claim in a prior opinion. See Agerbrink, 2015 WL 3750674, at *5.

       In sum, because Agerbrink is not entitled to summary judgment on any of her six

affirmative defenses, MSA’s breach-of-contract counterclaim survives.

               2.      MSA’s Tortious Interference Counterclaim

       MSA’s second counterclaim is that Agerbrink tortiously interfered with a business

relationship between MSA and Caché. It alleges that Caché had previously hired models

represented by MSA, which created an “economic expectancy” by which MSA expected that

Caché would pay MSA if it hired one of MSA’s models. (Dkt. No. 232 ¶¶ 380–82.) It further

alleges that Agerbrink solicited Caché for a job without telling MSA, thus interfering with this

expectancy. (See Dkt. No. 232 ¶¶ 379–87.)

       To prevail on a claim for tortious interference with business relations, a plaintiff in New

York must prove that “(1) it had a business relationship with a third party; (2) the defendant

knew of that relationship and intentionally interfered with it; (3) the defendant acted solely out of

malice, or used dishonest, unfair, or improper means; and (4) the defendant’s interference caused

injury to the relationship.” Carvel Corp. v. Noonan, 350 F.3d 6, 17 (2d Cir. 2003). “[A]s a

general rule, the defendant’s conduct must amount to a crime or an independent tort” or the

defendant must have acted “for the sole purpose of inflicting intentional harm on plaintiffs.”

Carvel Corp. v. Noonan, 3 N.Y.3d 182, 190 (2004) (second quoting NBT Bancorp, Inc. v.

Fleet/Norstar Fin. Grp., Inc., 628 N.Y.S.2d 408, 410 (App. Div. 3d Dept. 1995)).




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       Agerbrink correctly points out that MSA has not adduced evidence that Agerbrink’s

conduct was an independent crime or tort or that she acted solely with the purpose of inflicting

emotional harm. Even if Agerbrink intended to go behind MSA’s back in working for Caché,

such conduct may amount to breach of contract, but not tortious interference. Accordingly,

Agerbrink is entitled to summary judgment on the tortious interference counterclaim.

       C.      Agerbrink’s Motion for Summary Judgment as to Initial Damages on Her
               Unjust Enrichment Claim

       When Agerbrink left MSA, MSA withheld some of Agerbrink’s earnings as security for

any judgment MSA might obtain. In 2016, this Court granted summary judgment in favor of

Agerbrink on the issue of the liquidated damages clause in her contract with MSA. See

Agerbrink v. Model Serv. LLC, 196 F. Supp. 3d 412, 419 (S.D.N.Y. 2016). The clause provided

that if Agerbrink breached the contract, MSA could retain money MSA was holding on

Agerbrink’s behalf. Id. at 414‒15. The Court held that the liquidated damages clause was an

unenforceable penalty under New York law. Id. at 418–19. And because the provision was

invalid, the Court held that MSA’s retention of Agerbrink’s money constituted unjust

enrichment. Id. at 419. Because the Court only addressed the issue of liability, it did not address

the exact amount due. Id. at 415 n.2.

       The parties agree that, as of June 30, 2014, MSA had not paid Agerbrink at least

$13,768.15 of her earnings. (CSUF ¶ 112.) Agerbrink therefore moves for summary judgment

as to that amount, plus prejudgment interest, on the theory that the only issue for trial is whether

MSA owes Agerbrink more than that amount. MSA responds that summary judgment on the

$13,768.15 is premature, since Agerbrink may end up owing money to MSA if MSA prevails on

its counterclaims. (Dkt. No. 260 at 26–27.)



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        Agerbrink is right on this front. The Court has already held that MSA was not entitled to

withhold Agerbrink’s earnings, and that MSA is therefore liable for unjust enrichment. That

Agerbrink may end up owing MSA is of no import right now. Since there is no dispute that

MSA is unlawfully holding $13,768.15 of Agerbrink’s money, Agerbrink is entitled to summary

judgment for this amount, plus prejudgment interest.

IV.     Conclusion

        For the foregoing reasons, Defendants’ motion for partial summary judgment is

GRANTED, and Plaintiff’s motion for partial summary judgment is GRANTED in part and

DENIED in part, as follows:

        MSA’s motion for summary judgment on the misclassification issue is GRANTED, and

Agerbrink’s motion for summary judgment on that issue is DENIED. The Court concludes that

it is beyond genuine dispute that Agerbrink was an independent contractor and not an employee

with respect to MSA.

        Agerbrink’s motion for summary judgment as to MSA’s tortious-interference

counterclaim is GRANTED.

        Agerbrink’s motion for summary judgment as to MSA’s breach-of-contract counterclaim

is DENIED.

        Agerbrink’s motion for summary judgment on her unjust enrichment claim is GRANTED

as to the undisputed portion of her withheld earnings. Agerbrink is entitled to judgment in the

amount of $13,768.15 plus prejudgment interest on that claim.

        All told, two issues remain: (1) what sum above $13,768.15, if any, MSA owes

Agerbrink, and (2) MSA’s breach-of-contract counterclaim. The parties shall submit a joint




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letter within two weeks of the date of this order, outlining their proposals on how to proceed with

the case.

         The Clerk of Court is directed to close the motions at Docket Numbers 239, 242, and

254.

         SO ORDERED.

Dated: March 14, 2018
       New York, New York

                                             ____________________________________
                                                        J. PAUL OETKEN
                                                    United States District Judge




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